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                    IN THE U.S. DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JERRY FRAZIER                       )
     Petitioner                     )
                                    )
     vs.                            )
                                    )
                                    )               NO: 21-4512
                                    )
LAUREL HARRY, SUPERINTENDENT        )
SCI CAMP HILL ET AL                 )
       Respondents

                                 ORDER

     AND NOW , this                  day of                     2022,

upon consideration of the Joint unopposed request to stay of

these habeas proceedings to permit Appellant to complete his

investigation and to file and exhaust a PCRA petition in state

court related to newly discovered and newly disclosed evidence,

said Motion is hereby GRANTED.

     The briefing schedule is hereby vacated. Counsel is to advise

the Court within 30 days of the date that the ‘new’ evidence

claims have been exhausted by the state courts.


                                        BY THE COURT


                                  ____________________________
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Teri B. Himebaugh, Esq.
PA ID 53603
1400 Spring Garden St. #911
Philadelphia, PA 19130
(484) 686-3279
thimebaughesq@earthlink.net

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UNOPPOSED MOTION TO STAY THE HABEAS PROCEEDINGS

     1. The Third Circuit previously granted this successive habeas review

        under Rule 60 which provides for federal review of a claim based on

        the discovery of new evidence, which could not have been

        previously discovered through due diligence.   1




1      This new evidence was the discovery of an eyewitness, Darnell
Thomas. Mr. Thomas averred that he was present for the crime and that
Petitioner was not the shooter. “I know the person I saw running from the
scene on Phillips Street was not Man-Man”. He also averred that he had
given Homicide Detectives a statement attesting to Petitioner’s innocence.
This statement was not disclosed by the Commonwealth.
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2. The Commonwealth is due to file their response to the Petitioner’s

   petition on June 19, 2022.



3. Since filing the instant habeas petition, the Petitioner has been

   conducting additional investigation with the consent of the

   Philadelphia District Attorney’s Office Federal Litigation and

   Conviction Integrity Units.



4. Counsel has recently reviewed the Homicide Detective (“H”) file

   and the prosecutor’s (“DAO”) file. This review led counsel to seek to

   review additional documents.


5. During the H/DAO review there were multiple references to

   witnesses present at the scene at the time of the crime and

   documents from the Narcotics “Strike Force 5”. It is believed that a

   separate file(s) exist within the Narcotics Unit which may contain

   information relevant to the instant homicide. Accordingly,

   Petitioner’s counsel requested that the Commonwealth determine if

   such files exist and if they do, permit review of those files during

   the relevant time period: Feb 1, 2003 to May 1, 2003. The

   Commonwealth has not yet determined if these files exist and can

   be produced.
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6. Petitioner’s counsel has also just learned of a newly discovered

   witness, Abdu Rivera. Mr. Rivera, who is incarcerated, recently gave

   Petitioner’s Private Investigator a statement over the phone. That

   statement was then transcribed and sent to Mr. Rivera to review,

   correct, sign and verify.


7. In that statement Mr. Rivera asserted that he had been in the area

   selling drugs when the shooting occurred. He saw two men wearing

   hoodies and that one of these men was the shooter. He asserted

   that neither of the two males wearing hoodies was the Petitioner.

   Mr. Rivera ran from the scene and was never interviewed or

   identified by police.


8. It is believed that Mr. Rivera’s testimony is additional ‘new’

   evidence of actual innocence. This ‘new’ evidence will have to be

   raised and exhausted in state court.


9. Petitioner will be filing a ‘new’ evidence PCRA petition once both the

   signed statement from Rivera is received and any review of the

   Narcotics Task Force 5 files is complete.


10.   Petitioner therefore requests that this Court stay of this matter

   to permit the above.
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11.   Petitioner has been in touch with David Napiorski who relayed

  his non-opposition to this request.




                             Respectfully submitted,

                              /s/ Teri B. Himebaugh, Esq.
                             _________________________
                             Teri B. Himebaugh, Esq.
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                   CERTIFICATE OF SERVICE


     The undersigned counsel for Defendant hereby certifies
pursuant to Pa.R.A.P 121 and 18 Pa.C.S. 4904 that a true and
correct copy of the attached has been filed with the Court and
mailed first class, postage prepaid this 7th day of June 2022 upon
the following:


US District Court ED. PA (electronic)

ADA David Napiorski
Office of the District Attorney for Philadelphia County
3 South Penn Sq.
Federal Litigation Unit
Philadelphia, PA 19106

Richard Frankel, Esq. (email)
Drexel University




                           /s/ Teri B. Himebaugh, Esq.

                           ______________________________
                           Teri B. Himebaugh, Esq.
                           PA ID 53603
